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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
DERRICK STEWART, on behalf of himself, FLSA
Collective and the Class,

                                   Plaintiff,

          against                                               CIVIL ACTION NO.: 20 Civ. 885 (PGG) (SLC)

                                                                                      ORDER
HUDSON HALL LLC, d/b/a MERCADO LITTLE SPAIN,
et al.,

                                   Defendants.


SARAH L. CAVE, United States Magistrate Judge.

          On October 2, 2020, Defendants Hudson Hall LLC, Hudson Hall Holdings LLC (“Holdings”),

Think Food Group LLC (“Think”), and José Ramon Andrés Puerta (“José Andrés”) moved for a

protective order (the “Motion”) pursuant to Federal Rule of Civil Procedure 26(c)(1) “precluding

Plaintiff from taking [José Andrés’] deposition, or, in the alternative, holding [Mr. Andrés’]

deposition in abeyance until after the Court rules on Defendants’ pending Motion to Dismiss.”

(ECF No. 50 at 2). 1

          On October 19, 2020, Plaintiff filed a Letter notifying the Court that Plaintiff will not

oppose the Motion. (ECF No. 54).




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    The Court issued a Report and Recommendation on October 19, 2020. (ECF No. 53).
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         Accordingly, Defendants’ Motion is GRANTED as unopposed by Plaintiff. The Clerk of

Court is respectfully directed to close ECF No. 50.

Dated:         New York, New York
               October 20, 2020

                                                      SO ORDERED



                                                      _________________________
                                                      SARAH L. CAVE
                                                      United States Magistrate Judge




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